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                                                                                                                      E-FILED
                                                                                Monday, 06 January, 2020 11:38:49 AM
                                                                                         Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS


DWIGHT LONG,                                                )
                                                            )
        Plaintiff,                                          )
                                                            )
        v.                                                  )          19-CV-3195
                                                            )
TERRY MARTIN, WEXFORD                                       )
HEALTH SOURCES, INC.,                                       )
CRAIG FOSTER, DR. FRANCIS                                   )
KAYIRA, DR. LOUIS SHICKER,                                  )
WHITE, T. MASKE, S. HOWARD,                                 )
K. BARBEE,                                                  )
                                                            )
        Defendants.                                         )


                                    MERIT REVIEW ORDER

COLIN STIRLING BRUCE, U.S. DISTRICT JUDGE.

        Plaintiff proceeds pro se from his incarceration in Graham

Correctional Center. His Complaint is before the Court for a merit

review pursuant to 28 U.S.C. § 1915A. This section requires the

Court to identify cognizable claims stated by the Complaint or

dismiss claims that are not cognizable.1 In reviewing the complaint,

the Court accepts the factual allegations as true, liberally

construing them in Plaintiff's favor and taking Plaintiff’s pro se

1
 A prisoner who has had three prior actions dismissed for failure to state a claim or as frivolous or malicious can
no longer proceed in forma pauperis unless the prisoner is under “imminent danger of serious physical injury.” 28
U.S.C. § 1915(g).

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status into account. Turley v. Rednour, 729 F.3d 645, 649 (7th Cir.

2013). However, conclusory statements and labels are insufficient.

Enough facts must be provided to "'state a claim for relief that is

plausible on its face.'" Alexander v. U.S., 721 F.3d 418, 422 (7th

Cir. 2013)(quoted cite omitted).

     Plaintiff alleges that he began seeing blood in his urine in

October 24, 2016, which continued for months. After various

alleged delays and extreme pain, Plaintiff received two surgeries in

January 2017 and one in February 2017, both of which were

unsuccessful. The surgeon’s prescription orders were not followed,

and Plaintiff continued to experience pain and blood in his urine.

On April 19, 2017, Plaintiff went to healthcare because of the

extreme pain. Defendants Martin and Barbee (both medical

technicians) allegedly “had issues” with Plaintiff because of

Plaintiff’s complaining about this problem. Plaintiff was refused

care and fell as he walked out of the healthcare unit. Defendant

Martin told Plaintiff to “[G]et the fuck off the ground.” Defendant

Martin then allegedly picked Plaintiff up and “body-slammed”

Plaintiff into a wheelchair so hard that Plaintiff’s rotator cuff was



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torn, along with other injuries. Plaintiff had shoulder surgery in

November 2018.

     Plaintiff states a plausible Eighth Amendment claim against

Defendant Martin for excessive force and a claim for deliberate

indifference to Plaintiff’s serious medical need against Defendants

Martin and Barbee.

     However, no plausible claim is stated against the Warden

Foster or Wexford Health Sources, Inc. on these allegations.

Wexford Health Sources, Inc., cannot be liable unless a corporate

policy or practice caused the alleged lack of medical care. See

Woodward v. Correctional Medical Services of Illinois, Inc., 368 F.3d

917 (7th Cir. 2004)(corporate policy must be moving force behind

constitutional violation). No reasonable inference arises on these

allegations that a Wexford policy or practice caused the lack of

medical care. As for the Warden, as a layperson he was entitled to

rely on the judgment of the treating professionals. Greeno v. Daley,

414 F.3d 645, 656 (7th Cir. 2005)(“‘If a prisoner is under the care of

medical experts... a nonmedical prison official will generally be

justified in believing that the prisoner is in capable hands.’”)(quoted

cite omitted).

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     Additionally, Plaintiff does not explain how the other

Defendants (Dr. Kayira, Dr. Shicker, Correctional Officer White,

Nurse Maske, and Director of Nursing Howard) were personally

involved in the incident on April 19, 2017 or otherwise personally

responsible for Plaintiff’s alleged lack of medical care. Kuhn v.

Goodlaw, 678 F.3d. 552, 555 (7th Cir. 2012)(“§ 1983 liability is

premised on the wrongdoer's personal responsibility”); Matthews v.

City of East St. Louis, 675 F.3d 703, 708 (7th Cir. 2012)(“To show

personal involvement, the supervisor must ‘know about the conduct

and facilitate it, approve it, condone it, or turn a blind eye for fear of

what they might see.’”)(quoted cite omitted); Chavez v. Illinois State

Police, 251 F.3d 612, 651 (7th Cir. 2001)(no respondeat superior

liability under § 1983). These defendants will be dismissed without

prejudice to amendment.

IT IS THEREFORE ORDERED:

     1)    Pursuant to its merit review of the Complaint under 28

U.S.C. § 1915A, the Court finds that Plaintiff states the following

constitutional claims: (1) Eighth Amendment claim for excessive

force against Defendant Martin; and, (2) Eighth Amendment claims

for deliberate indifference to serious medical needs against
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Defendants Martin and Barbee. This case proceeds solely on the

claims identified in this paragraph. Any additional claims shall not

be included in the case, except at the Court’s discretion on motion

by a party for good cause shown or pursuant to Federal Rule of

Civil Procedure 15.

     2)    This case is now in the process of service. Plaintiff is

advised to wait until counsel has appeared for Defendants before

filing any motions, in order to give Defendants notice and an

opportunity to respond to those motions. Motions filed before

Defendants' counsel has filed an appearance will generally be

denied as premature. Plaintiff need not submit any evidence to the

Court at this time, unless otherwise directed by the Court.

     3)    The Court will attempt service on Defendants by mailing

each Defendant a waiver of service. Defendants have 60 days from

the date the waiver is sent to file an Answer. If Defendants have not

filed Answers or appeared through counsel within 90 days of the

entry of this order, Plaintiff may file a motion requesting the status

of service. After Defendants have been served, the Court will enter

an order setting discovery and dispositive motion deadlines.



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     4)   With respect to a Defendant who no longer works at the

address provided by Plaintiff, the entity for whom that Defendant

worked while at that address shall provide to the Clerk said

Defendant's current work address, or, if not known, said

Defendant's forwarding address. This information shall be used

only for effectuating service. Documentation of forwarding

addresses shall be retained only by the Clerk and shall not be

maintained in the public docket nor disclosed by the Clerk.

     5)   Defendants shall file an answer within 60 days of the

date the waiver is sent by the Clerk. A motion to dismiss is not an

answer. The answer should include all defenses appropriate under

the Federal Rules. The answer and subsequent pleadings shall be

to the issues and claims stated in this Opinion. In general, an

answer sets forth Defendants' positions. The Court does not rule

on the merits of those positions unless and until a motion is filed by

Defendants. Therefore, no response to the answer is necessary or

will be considered.

     6)   This District uses electronic filing, which means that,

after Defense counsel has filed an appearance, Defense counsel will

automatically receive electronic notice of any motion or other paper

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filed by Plaintiff with the Clerk. Plaintiff does not need to mail to

Defense counsel copies of motions and other papers that Plaintiff

has filed with the Clerk. However, this does not apply to discovery

requests and responses. Discovery requests and responses are not

filed with the Clerk. Plaintiff must mail his discovery requests and

responses directly to Defendants' counsel. Discovery requests or

responses sent to the Clerk will be returned unfiled, unless they are

attached to and the subject of a motion to compel. Discovery does

not begin until Defense counsel has filed an appearance and the

Court has entered a scheduling order, which will explain the

discovery process in more detail.

     7)      Counsel for Defendants is hereby granted leave to depose

Plaintiff at his place of confinement. Counsel for Defendants shall

arrange the time for the deposition.

     8)      Plaintiff shall immediately notify the Court, in writing, of

any change in his mailing address and telephone number.

Plaintiff's failure to notify the Court of a change in mailing address

or phone number will result in dismissal of this lawsuit, with

prejudice.



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     9)    If a Defendants fails to sign and return a waiver of service

to the clerk within 30 days after the waiver is sent, the Court will

take appropriate steps to effect formal service through the U.S.

Marshal's service on that Defendant and will require that Defendant

to pay the full costs of formal service pursuant to Federal Rule of

Civil Procedure 4(d)(2).

     10)   Within 10 days of receiving from Defendants' counsel an

authorization to release medical records, Plaintiff is directed to sign

and return the authorization to Defendants' counsel.

     11)   Plaintiff’s motion for the Court to appoint counsel is

denied (6). The Court cannot order an attorney to accept pro bono

appointment on a civil case such as this. Pruitt v. Mote, 503 F.3d

647, 653 (7th Cir. 2007). Plaintiff has made reasonable efforts to

find counsel, so the question is “whether the difficulty of the case—

factually and legally—exceeds the particular plaintiff's capacity as a

layperson to coherently present it to the judge or jury himself.”

Pruitt, 503 F.3d at 655 (7th Cir. 2007). On this record, Plaintiff

appears competent to proceed pro se. He has taken some college

classes, and his filings adequately convey the factual basis for his



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claims. Additionally, Plaintiff already has personal knowledge of

many of the relevant facts underlying his claims.

     12)   Defendants Wexford Health Sources, Inc., Craig

Foster, Francis Kayira, Louis Shicker, Officer White, Nurse

Maske, and Director of Nursing Howard are dismissed without

prejudice. The clerk is directed to terminate said Defendants.

     13)   The clerk is directed to enter the standard order

granting Plaintiff's in forma pauperis petition and assessing an

initial partial filing fee, if not already done, and to attempt

service on Defendants pursuant to the standard procedures.

     14)   The Clerk is directed to enter the standard qualified

protective order pursuant to the Health Insurance Portability

and Accountability Act.

ENTERED: 1/6/2020

FOR THE COURT:

                                  s/Colin Stirling Bruce
                                 COLIN STIRLING BRUCE
                             UNITED STATES DISTRICT JUDGE




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